













COURT OF APPEALS 
SECOND DISTRICT OF TEXAS
FORT WORTH

NO. 2-03-060-CV 
&nbsp;
METRO BOAT, INC. D/B/A &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;      APPELLANTS 
NATIONAL BOAT CENTER 
AND MARK F. SCHUSTER&nbsp; 

V.

TEXASBANK&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEE
&nbsp;
----------
FROM THE 96TH DISTRICT COURT OF TARRANT COUNTY
----------
MEMORANDUM OPINION


 AND JUDGMENT
----------
We have considered the parties’ “Agreed Motion To Dismiss Appeal.”  It
is the court's opinion that the motion should be granted; therefore, we dismiss
the appeal.  See TEX. R. APP. P. 42.1(a)(2), 43.2(f).
Costs of the appeal shall be paid by the party incurring the same, for
which let execution issue.
PER CURIAM&nbsp; 
PANEL D:&nbsp;&nbsp;&nbsp;HOLMAN, GARDNER, and WALKER, 
JJ.

DELIVERED: October 9, 2003   


